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Mt 3h 20 \4\ UNITED STATES DISTRICT COURT
THONAS G BRUTONNORTHERN DISTRICT OF ILLINOIS

CLERK, US DISTRICTCOURT EASTERN DIVISION

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UNITED STATES OF AMERICA

. CASE me CR 8 1 3

MAGISTRATE JUDGE -
GERALDINE SOAT owe

KURT S. MAYER
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my Hnowledge
and belief.
On or about May 29, 2014, at Schaumburg, in the Northern District of Illinois, Eastern
Division, and elsewhere, the defendant(s) violated: oe .
Code Section Offense Description

Title 18, United States Code, Section transportation of child pornography |
2252A(a)(1)

_ This criminal complaint is based upon these facts: -

_X_ Continued on the attached sheet. Vad) L
eo

SHANNON*K. MCDANIEL
Special Agent, Federal Bureau of Investigation

(FBI)

_ Sworn to before me and signed in my presence. —
Date: May 31, 2014 ‘ hassssers lt td

Judge’ s signature

City and state: Chicago, Ilingis _ . GERALDINE SOAT BROWN, U.S. Magistrate Judge
, Printed name and Title

 

 
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
AFFIDAVIT

I, SHANNON K. MCDANIEL, bemg duly sworn, state as follows:

1. I am a Special Agent with the Federal Bureau of Investigation, and
have been so employed for 13 years. My current responsibilities include the
investigation of child exploitation and child pornography.

2. This affidavit is submitted in support of a criminal complaint alleging
that Kurt S. Mayer has violated Title 18, United States Code, Section 2252A(a)(1).
Because this affidavit is being submitted for the limited purpose of establishing
probable cause in ‘support of a criminal complaint charging MAYER with
transportation of child pornography, I have not included each and every fact known
to me concerning this investigation. I have set forth only the facts that I believe are
necéseary to establish probable cause to believe that the defendant committed the
offense alleged in the complaint.

3. The statements in this affidavit are based on my personal knowledge,
and on information I have received from other law enforcement personnel and from

persons with knowledge regarding relevant facts.
FACTS SUPPORTING PROBABLE CAUSE

3. On or about May 29, 2014, an FBI Task Force Officer and Detective

with the Washington, D.C. Metropolitan Police Department, who was working in an

 

 
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online undercover capacity (the “UC”), received an email from Craigslist! email
account 3cTbb30b7adb3dae9 laf7fae921f8ba4@reply.craigslist.org (the “Subject
Account”). The email was in response to an ad the UC had updated that same day in
which the UC had stated, among other things, that the UC was interested in
meeting “perv [...] [individuals] into the more taboo things in life.”
4, Subsequently, on or about May 29, 2014, the UC engaged in an email
exchange with the user of the Subject Account (subsequently identified as the
defendant, KURT S. MAYER) during which MAYER identified his age, relationship
status and some family information. MAYER also asked the UC if the UC had Kik
because it was “Much more discreet.” Based on my training and experience, I know
that Kik (also known as Kik Messenger) is a smartphone application which allows
users to send messages to each other. Of note, all of the emails sent to the UC from
the Subject Account said “Sent from my iPhone” at the bottom. Based on my
training and experience, I know that the phrase “Sent from my iPhone” is acommon
default electronic signature associated with emails sent from iPhones, a type of
smartphone.
5. The UC, who was located in Washington, D.C., and MAYER engaged
in a number of communications using Kik Messenger, on or about May 29, 2014.
During the communications, MAYER admitted, among other things, that: (1) he had
sexually abused a minor child in the past through oral sex and rubbing the child’s

genitalia; (2) that he had taken pictures of the minor child (based on the context of

 

1 Based on my training and experience, I know that Craigslist is a website that allows users
to post classified advertisements.

 

 
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' the communication, it appears that MAYER was claiming that he had made images
of child pornography with the child); and (3) that he took pictures. the about 20
minutes ago. During the conversation, MAYER used the screen name “kurtmay.”
Based on the context of the communication between MAYER and the UC the child
that MAYER discussed abusing is “CHILD A” described below.

6. During the conversation, MAYER also sent several pictures to the UC,
including two images depicting child pornography that are described below in
further detail. To confirm that the child was real and that MAYER was taking the
pictures, the UC asked MAYER to have the child hold two fingers up in the air
during a picture (with the child clothed). MAYER then sent another picture to the
UC of the same child, who was clothed and holding two fingers up in the air.

7. All of the images described within this affidavit are available for
inspection by the Court upon request. The two images of child pornography
depicted:.

a. An image of a prepubescent child (“CHILD A”). The focus of the
image is of CHILD A’s genitalia. CHILD A is on a bed with CHILD A’s shorts.
pulled down to CHILD A’s knees and CHILD A’s buttocks in the air displaying
CHILD A’s buttocks and genitalia. It appears CHILD A is wearing black shorts
with colored trim, and that CHILD A has been posed in a sexually explicit manner. :
The bed has a wooden slotted headboard.

b. An image of a prepubescent child. The focus of the image is of

CHILD A’s genitalia. CHILD A is on a bed with CHILD A’s shorts pulled down to

 

 
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CHILD A’s knees and CHILD A’s buttocks up in the air displaying CHILD A’s
buttocks and genitalia. CHILD A’s face is partially visible in the image. It appears .
’ CHILD A is wearing black shorts with colored trim, and that CHILD A has been
posed in a sexually explicit manner. The bed has.a wooden slotted headboard. Upon
review, it appears the bed, shorts, and child from this image are the same as the
previous image.

8. The image of CHILD A holding up two fingers depicted an image of
what appears to be a prepubescent child wearing a black shirt with colored writing Le
and black shorts with colored trim. CHILD A is standing on a bed holding up two
fingera with CHILD A’s right hand. The bed has a wooden slotted headboard.
Upon review, your affiant believes the bed and shorts from this image are the samme
as the two images of child pornography described above.

9. As part of this investigation, an emergency request was sent to

Craigslist for information relating the Subject Account -

3cTbb30b7adb3dae9 laf? fae921f8ba4@reply.craigslist.org. In response, Craigslist
provided identified EMAIL ADDRESS 1 and IP addresses 24.13.173.61 and

198.228.225.232 as being associated with the account.
10. Public database checks showed IP address 24.13.173.61 associated
with Comcast.
11. On or about May 30, 2014, Comcast provided information which

identified the customer assigned IP address 24.13.173.61 on May 29, 2014, during a

time period relevant to this investigation as KURT MAYER at RESIDENCE 1.

 

 
 

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12. Public database checks showed EMAIL ADDRESS 1 associated with
an account with the social media website Facebook in the name of Kurt.Mayer.96. —

13. On or about May 30, 2014, FBI surveillance of RESIDENCE 1
observed an individual who appeared to be MAYER in the. garage at
RESIDENCE 1. MAYER was identified via his Illinois driver's license photograph.

14. According to Illinois motor vehicle registration records, as of on or
about May 30, 2014, MAYER. and Individual A had two vehicles registered in their
names at RESIDENCE 1.

15. Onor about May 30, 2014, agents executed a federal search warrant at
RESIDENCE 1 (located in Schaumburg, Illinois). During the search, agents
discovered the headboard, bedding and CHILD A’s shirt and shorts depicted in the
two images of child pornography described above.

16. In addition, on or about May 30, 2014, during the search of

RESIDENCE 1, there were at least two marked police cars in front of RESIDENCE
1. MAYER drove towards the residence during the search, but he did not stop at
RESIDENCE 1 and continued to drive by. As a result, local law enforcement
conducted a traffic stop of MAYER and arrested him based on probable cause: » that
he transported images of child pornography. Following the arrest, agents advised

MAYER of his Miranda rights. MAYER waived his rights by a written waiver.

During an interview with agents, MAYER admitted among other things: (1) to

 

 
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taking the two images depicting child pornography described above;? (2) that the
two images of child pornography described. above depicted CHILD A; (3) that
CHILD A was less than 18 years old (he provided CHILD A’s spectfic age); (4) that
he took the pictures with his iPhone: (5) that he used his iPhone to send the two |
images depicting child pornography to someone he met through Craigslist; and (6)
that EMAIL ADDRESS 1 was one of his email accounts. MAYER denied ever
touching or molesting CHILD A. MAYER also initially denied sending the two
images of child pornography until he was confronted with the images. At that
point, MAYER admitted to taking the images and sending them via his iPhone.

17. Also, on or about May 30, 2014, MAYER consented to allow agents to
search his vehicle. MAYER signed a written consent to search his vehicle. During
the search, agents recovered an iPhone, which as described above, appears to be the
same type of phone used to send emails to the UC, according to the email messages.

18. On or about May 30, 2014, an interviewer from ‘the Children’s
Advocacy Center of North and Northwest Cook County interviewed CHILD A.
CHILD A stated among other things: (1) that MAYER took pictures of CHILD A
during the last two days; and (2) that MAYER had previously kissed CHILD A’s
genitalia. In addition, CHILD A identified CHILD A in one of the images depicting
child pornography (CHILD A only viewed one of the two images depicting child

pornography) and the image of CHILD A holding up two fingers.

 

2 MAYER initialed other images that he had sent the UC but that did not depict child
pornography. MAYER refused to initial the two images of child pornography or the image
of CHILD A holding two fingers in the air.

 

 
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19. On or about May 30, 2014, a parent of CHILD A provided the
investigation with information including that CHILD A is a minor child who is less

than 18 years old.

FURTHER AFFIANT SAYETH NOT.

SHANNON K. MCDANIEL
Special Agent, Federal Bureau of

 

Investigation
SU "od 0 P to before me on May 31, 2014.
‘GERALDINE SOAT BROWN
United States Magistrate Judge
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